Case: 23-50491 Document: 126-1 Page:1 Date Filed: 01/14/2025

Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
Clerk of the Court

January 10, 2025 (202) 479-3011
United States Court of Appeals for the Fifth Circuit fe $° AKC ever eA
600 8. Maestri Place (2 eo N
New Orleans, LA 70130 . JAN 14 2025 *)
X. EP cape. oe
Re: Department of Education, et.al. Peet eat A
v. Career Colleges and Schools of Texas
No, 24-413

(Your No. 23-50491)

Dear Clerk:
The Court today entered the following order in the above-entitled case:

The petition for a writ of certiorari is granted limited to Question 1
presented by the petition.

Sincerely,

Lull &. Yer

Scott S. Harris, Clerk
